                    Case 1:18-cv-10700-ER Document 13 Filed 03/05/19 Page 1 of 4


                                                                                                    Seyfarth Shaw LLP

                                                                                                    620 Eighth Avenue

                                                                                             New York, New York 10018

                                                                                                       (212) 218-5500
Writer’s direct phone                                                                               fax (212) 218-5526
(212) 218-5291
                                                                                                     www.seyfarth.com
Writer’s e-mail
jegan@seyfarth.com




                                                 March 5, 2019


VIA ECF

Hon. Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

           Re:          Camacho v. Rider University, Civil Action No. 1:18-cv-10700-ER

Dear Judge Ramos:

        This Firm represents Defendant Rider University (“Rider” or “Defendant”) in the above-
referenced action. In accordance with Section 2.A.ii of Your Honor’s Rules, we respectfully submit
this correspondence to request a pre-motion conference in connection with Defendant’s anticipated
motion to dismiss under Fed. R. Civ. P. 12(b)(2).

        In sum, this action should be dismissed because the Court lacks personal jurisdiction over
Rider. Rider is organized under the laws of New Jersey and has its principal place of business in
that state. It does not own, use or possess real property in New York, and does not maintain any
bank accounts in New York. Rider does not target New York over other states where it recruits
students, and only 4 percent of its students are New York residents. It does not hold any physical
classes, seminars or other academic events in the state. The website content at issue provides
information about Defendant that may be accessed anywhere in the world where there is an internet
connection. Rider’s posting of this content on a website maintained in New Jersey, and its
attendance at one of at least 900 recruitment events across at least 12 states and 6 countries falls far short
of “purposeful availment” of the New York forum that would permit the Court to exercise personal
jurisdiction.

                                                  The Action

        Plaintiff alleges that Rider maintains a website, www.rider.edu/ (the “Website”), that is not
accessible to individuals with visual disabilities. Plaintiff specifically alleges that he attempted to
access the Website after attending a recruitment fair held at the Jacob Javits Center on November 5,
2018 (the “Fair”). Plaintiff essentially contends that the Website provides informational content to
prospective students and members of the public that is not sufficiently compatible with screen


47908816v.1
               Case 1:18-cv-10700-ER Document 13 Filed 03/05/19 Page 2 of 4
                                                                                             Hon. Edgardo Ramos
                                                                                                   March 5, 2019
                                                                                                          Page 2


reader technology. (Complaint, ECF No. 1, at ¶¶ 28, 31-33.) He asserts claims for relief, on behalf
of himself and others similarly situated, under Title III of the ADA, Section 504 of the
Rehabilitation Act of 1973, the New York State Civil Rights Law, the New York State Human
Rights Law, and the New York City Human Rights Law.

                   Plaintiff Has The Burden To Demonstrate Personal Jurisdiction

        Plaintiff has the burden of proof once served with a Rule 12(b)(2) motion. Whitaker v. Am.
Telecasting, Inc., 261 F.3d 196, 208 (2d Cir. 2001). He must make a specific averment of facts that,
if credited, would be legally sufficient to demonstrate that the Court has jurisdiction. Skrodzki v.
Marcello, 810 F. Supp. 2d 501, 507 (E.D.N.Y. 2011). Specifically, Plaintiff must show either: (1)
that Rider was present and doing business under C.P.L.R. § 301 (i.e. “general” personal
jurisdiction); or (2) that Rider committed acts within the scope of New York’s long-arm statute,
C.P.L.R. § 302. (i.e. “specific” personal jurisdiction). Saudi v. Marine Atl., Ltd., 306 F. App'x 653,
654-55 (2d Cir. 2009). Plaintiff cannot establish personal jurisdiction over Rider under either
theory.

                                There Is No General Personal Jurisdiction

         Absent an “exceptional case,” general personal jurisdiction will only exist over Rider in
New York if it is (1) incorporated in the state, or (2) has its principal place of business in New
York.1 Daimler AG v. Bauman, 571 U.S. 117, 137-39 (2014). Under a “myriad of cases” involving
institutions of higher learning, it is well-established in this Circuit that “national universities are not
subject to general jurisdiction outside of their state of incorporation or operation.” Thackurdeen v.
Duke Univ., 130 F. Supp. 3d 792, 799-800 (S.D.N.Y. 2015), aff’d, 660 F. App'x 43, 45 (2d Cir.
2016). Since Rider is neither incorporated nor has its principal place of business in New York, the
Court lacks general personal jurisdiction.

                                There Is No Specific Personal Jurisdiction

        While general personal jurisdiction permits “a court to hear ‘any and all claims against an
entity,’” specific personal jurisdiction under the New York long arm statute, in contrast, “is
confined to adjudication of issues deriving from, or connected with, the very controversy that
establishes jurisdiction.” SPV OSUS, Ltd. v. UBS AG, 882 F.3d 333, 344 (2d Cir. 2018). The
Second Circuit has held that there must be an “articulable nexus, or a substantial relationship”
between the plaintiff’s claims, on one hand, and the defendant’s acts occurring in New York, on the
other. Best Van Lines, Inc. v. Walker, 490 F.3d 239, 246 (2d Cir. 2007) (internal quotation marks
and citations omitted). Here, neither Defendant’s participation in the Fair nor its Website are
sufficient under any of the provisions of the New York long arm statute, for the following reasons:




1
         The Second Circuit has applied Daimler to hold that even a foreign corporation that maintains an office in New
York does not qualify as an “exceptional case.” Gucci Am., Inc. v. Bank of China, 768 F.3d 122, 135 (2d Cir. 2014)
(quoting Daimler, 571 U.S. at 139 n.19). Here, Rider does not even have a physical office in the state.
              Case 1:18-cv-10700-ER Document 13 Filed 03/05/19 Page 3 of 4
                                                                                  Hon. Edgardo Ramos
                                                                                        March 5, 2019
                                                                                               Page 3


        First, Plaintiff’s claims do not arise out of any specific transaction of business in New York
under Section 302(a)(1) of the C.P.L.R. As with networking events, intercollegiate sports, alumni
events and other, typical interstate activities of national institutions of higher learning, the act of
simply attending a recruitment fair in New York will not confer personal jurisdiction. See
Thackurdeen, 130 F. Supp. 3d at 802-03. This is particularly the case here, since Plaintiff’s claims
are directed at the accessibility of the Website rather than any alleged acts or omissions by Rider at
the Fair. Plaintiff, in fact, did not initiate any communications with Rider at the Fair or at any time
thereafter. See Kurzon v. Thomas M. Cooley Law Sch., No. 12-cv-8352, 2014 U.S. Dist. LEXIS
85776, at *18 (S.D.N.Y. June 24, 2014) (no specific jurisdiction under Section 301(a)(1) because
plaintiff’s claims were “not based on . . . [defendant’s] law school recruitment fair participation” in
New York).

        What is relevant to Plaintiff’s claims concerns purely informational, internet-based content
about the services, programs and activities of Rider. Similar to a national publication with New
York readership, it is well established that an organization cannot be hauled into any jurisdiction
where its website content may be displayed. See Girl Scouts of the U.S. v. Steir, 102 F. App’x 217,
219 (2d Cir. 2004) (summary order) (no specific jurisdiction under Section 301(a)(1) based on
“website [] directed at the entire United States”); Zibiz Corp. v. FCN Tech. Sols., 777 F. Supp. 2d
408, 423 (E.D.N.Y. 2011) (website content that conveys information to residents of any state in the
country fails to show purposeful availment in New York); Sullivan v. BH Media Group, Inc., No. 17
Civ. 8139 (S.D.N.Y.) (Daniels, J.), ECF Nos. 22, 24 (dismissing website accessibility action against
out-of-state publication under Fed. R. Civ. P. 12(b)(2)). That Plaintiff happened to visit the Website
while in New York rather than any other internet-served location, and attended the Fair in New
York rather than in any of the other 11 states where Rider recruits students, are precisely the type of
“coincidental” or “attenuated” contacts that the New York Court of Appeals has expressly rejected
as a basis for jurisdiction. Licci v. Lebanese Can. Bank, 20 N.Y.3d 327, 340 (2012).

        Second, Sections 302(a)(2) and (3) of the C.P.L.R. do not apply because the Complaint does
not allege tortious conduct. It is well-established that Plaintiff’s civil rights claims do not arise out
a duty “cognizable at common law.” Baguer v. Spanish Broad. Sys., No. 04-CV-8393 (KMK),
2007 U.S. Dist. LEXIS 70793, at *9-10 (S.D.N.Y. Sept. 20, 2007) (quoting Picciano v. Nassau Co.
Civil Serv. Comm'n, 290 A.D.2d 164, 736 N.Y.S.2d 55, 60 (2d Dep’t 2001)).

        Third, Rider does not own, use, or possess any real property within New York as required to
confer jurisdiction under Section 302(a)(4) of the C.P.L.R. Plaintiff does not allege otherwise.

       For all these reasons, the Court should dismiss this action with prejudice. We thank the
Court for its consideration of this application.
           Case 1:18-cv-10700-ER Document 13 Filed 03/05/19 Page 4 of 4
                                                                   Hon. Edgardo Ramos
                                                                         March 5, 2019
                                                                                Page 4


                                        Respectfully submitted,
                                        SEYFARTH SHAW LLP


                                        By: ___________________________
                                        John W. Egan
cc:   All counsel on record (via ECF)
